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         Entries of Appearances for 8/6/20 Telephonic Status Conference
Party                                 Lead Counsel
Donald J. Trump for President, Inc.   Ronald L. Hicks, Jr.
Glenn Thompson                        Ronald L. Hicks, Jr.
Mike Kelly                            Ronald L. Hicks, Jr.
John Joyce                            Ronald L. Hicks, Jr.
Guy Reschenthaler                     Ronald L. Hicks, Jr.
Republican National Committee         Ronald L. Hicks, Jr.
Melanie Stringhill Patterson          Ronald L. Hicks, Jr.
Clayton David Show                    Ronald L. Hicks, Jr.
Kathy Boockvar                        Karen Romano
Adams County                          Michele Hangley
Allegheny County                      Allan J. Opsitnick
Armstrong County                      Molly Meacham
Beaver County
Bedford County                        Molly Meacham
Berks County                          Christine Steere
Blair County                          Molly Meacham
Bradford County
Bucks County                          Michele Hangley
Butler County
Cambria County
Carbon County                         Michele Hangley
Centre County                         Molly Meacham
Chester County                        Michele Hangley
Clarion County                        Chris Gabriel
Clearfield County                     Michele Hangley
Clinton County
Columbia County                       Molly Meacham
Crawford County                       Michele Hangley
Cumberland County
Dauphin County                        Molly Meacham
Delaware County                       Michele Hangley
Elk County
Erie County
Fayette County                        Molly Meacham
Forest County
Franklin County                       Frank J. Lavery, Jr.
Fulton County
Greene County                         Robert Eugene Grimm
Huntingdon County                     Molly Meacham
Indiana County                        Molly Meacham
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Jefferson County                      Michele Hangley
Juniata County
Lackawanna County                     Molly Meacham
Lancaster County                      Christina Hausner
Lawrence County                       Molly Meacham
Lebanon County                        Molly Meacham
Lehigh County                         Michele Hangley
Luzerne County                        Michele Hangley
Lycoming County
McKean County                         Anthony V. Clarke
Mercer County
Mifflin County
Monroe County                         Michele Hangley
Montgomery County                     Michele Hangley
Montour County                        Molly Meacham
Northampton County                    Timothy Brennan
Northumberland County                 Molly Meacham
Perry County                          Frank J. Lavery, Jr.
Philadelphia County                   Michele Hangley
Pike County                           Michele Hangley
Potter County                         Thomas Shaffer
Schuylkill County                     Michele Hangley
Snyder County                         Gerard Geiger
Somerset County
Sullivan County
Susquehanna County
Tioga County                          Michele Hangley
Union County                          Michele Hangley
Venango County                        Molly Meacham
Warren County                         Chris Gabriel
Washington County                     Robert Grimm
Wayne County                          Michele Hangley
Westmoreland County                   David Regoli
Wyoming County
York County                           Molly Meacham
Cameron County
Democratic Intervenors                A. Michael Pratt
NAACP Pennsylvania State Conference   Lori Martin
Common Cause Pennsylvania             Lori Martin
League of Women Voters of PA          Lori Martin
Patricia DeMarco                      Lori Martin
Danielle Graham Robinson              Lori Martin
Kathleen Wise                         Lori Martin
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Michael Crossey                         Uzoma Nkwonta
The PA Alliance for Retired Americans   Uzoma Nkwonta
Dwayne Thomas                           Uzoma Nkwonta
Brenda Weinrich                         Uzoma Nkwonta
Irvin Weinrich                          Uzoma Nkwonta
Citizens for Pennsylvania's Future      Eliza Sweren-Becker
Sierra Club                             Eliza Sweren-Becker
